  Case 1:17-cr-00060-PLM ECF No. 72, PageID.280 Filed 11/02/17 Page 1 of 1
              United States District Court for the _____________
                                                   Western
                         District of _______________
                                     Michigan



_____________________________________________
_____________________________________________
United States of America
_____________________________________________
                                     Plaintiff,


        vs.                                                     CASE NO.______________
                                                                          1:17-cr-060


_____________________________________________
_____________________________________________
William Hugh Wilson
_____________________________________________
                                     Defendant.


                              NOTICE OF APPEAL

        Notice is hereby given that _____________________________________,
                                              William Hugh Wilson                hereby appeal
                                       (here name all parties taking the appeal)
to the United States Court of Appeals for the Sixth Circuit from _________________________
                                                                 the final judgment of sentence
                                                                   (the final judgment) (from an
                                                                 18th
_______________________________ entered in this action on the __________ day of
 order (describing it))
_______________________,
        October          ______.
                         2017


                                     (s)_____________________________________________
                                         Geoffrey Upshaw
                                           Address:____________________________________
                                                   Law Office of Geoffrey Upshaw
                                                   ____________________________________
                                                   429 Turner Ave. N.W.
                                                   ____________________________________
                                                   Grand Rapids, MI 49504


                                          Attorney for _________________________________
                                                       William Hugh Wilson

                      ✔
cc: Opposing Counsel ___
    Court of Appeals ___
                      ✔
6CA-3
1/99
